    Case 6:18-cv-00248-MC               Document 4   Filed 02/07/18   Page 1 of 3




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Mortgage Electronic Registration Systems, Inc. and
Ginnie Mae Remic Trust 2003-051



                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON
                                     EUGENE DIVISION

HOPE GALAN,
                                                     Case No.
                  Plaintiff,
            v.                                       CORPORATE DISCLOSURE
MORTGAGE MARKET INC., WELLS                          STATEMENT OF MORTGAGE
FARGO BANK, N.A., MORTGAGE                           ELECTRONIC REGISTRATION
ELECTRONIC REGISTRATION SYSTEMS,                     SYSTEMS, INC.
INC. (“MERS”), AND GINNIE MAE REMIC
TRUST 2003-051,
                           Defendant.


         Pursuant to Fed. R. Civ. P. 7.1(a), Defendant Mortgage Electronic Registration

Systems, Inc. (“MERS”), by and through its counsel of record herein, makes the following

disclosures:

         MERS is a wholly owned subsidiary of MERSCORP Holdings, Inc. MERSCORP

Holdings, Inc. is owned by Maroon Holding, LLC. Intercontinental Exchange, Inc. is the

only publicly-held corporation that individually owns 10% or more of Maroon Holding,

LLC.

104034/000072/01671671-1
CORPORATE DISCLOSURE STATEMENT OF
MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC. - 1
Case No. ___________________
    Case 6:18-cv-00248-MC         Document 4     Filed 02/07/18    Page 2 of 3




         DATED this 7th day of February, 2018.

                                     /s/ Joseph A. Rohner IV
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                                     Ginnie Mae Remic Trust 2003-051




104034/000072/01671671-1
CORPORATE DISCLOSURE STATEMENT OF
MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC. - 2
Case No. ___________________
    Case 6:18-cv-00248-MC          Document 4       Filed 02/07/18     Page 3 of 3




                               CERTIFICATE OF SERVICE

         I hereby certify that on 7th day of February, 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF System.

         I further certify that on the 7th day of February, 2018, I caused the foregoing to be

delivered to the following non-ECF participant in the manner indicated below:


          Hope Galan                              [X] By United States Mail
          815 N.W. 9th Street                     [ ] By CM/ECF
          Redmond, OR 97756                       [ ] By Federal Express
          Pro Se Plaintiff                        [ ] By Facsimile
                                                  [ ] by email:


         DATED this 7th day of February, 2018, at Seattle, Washington.

                                              /s/ Tamorah Burt
                                              Tamorah Burt, Legal Assistant
                                              AFRCT, LLP




104034/000072/01671671-1
CORPORATE DISCLOSURE STATEMENT OF
MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC. - 3
Case No. ___________________
